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UNITED STATES BANKRUPTCY COURT
I)ISTRICT OF DELAWARE

 

111 re

CD LIQUIDATION CO., LLC, f/k/a
CYNERGY DATA, LLC, et al.,

Debtors.

Chapter 11
Case No. 09-13038 (KG)

Hearing Date: ()ctobel' 30, 2012
Hearing Time: 10:00 A.M.

 

 

OBJEC'I`ION BY MARCELO PALADINI TO MOTI()N BY MONERIS
S()LUTIONS AND BMO HARRIS BANK NA TO ENFORCE
SE'I`TLEMENT AGREEMENT AND FOR RELATED RELIEF

ASCHETTINO STRUHS LLP

Stephen A. Aschettino (SA4072)(admiSSi0n
pending)

Naomi D. Johnson (NJ1566)(admisSi0n pending)
1500 Broadway, 21 St Floor

New York, New York 10036

Tel: (212) 354-7600

Fax: (866) 260-552”;'

ELLIOTT GRBENLEAF

Eric M, Sutty

1105 Market Street, Su`lte 1700
Wilmington, Delaware 19801
Tel: (302) 384-9400

Fax: (302) 384-9399

A!torneysfor Mm'ce]o Paladim'

 

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ASCHETTINO STRUHS LLP

Stephen A. Aschettino (SA4072)(admission pending)
Naomi D. Johnson (N.11566)(admission pending)
1500 Broadway, 21st Floor

New York, NeW York 10036

Te1: (212) 354-7600

Fax: (866) 260-5527

ELLIOTT GREENLEAF

Eric M. Sutty

1105 Market Street, Suite 1700
Wilmington, Delaware 19801
Tel: (302) 384-9400

Fax'. (302) 384-9399

Afto)‘neysfor Marcelo Paladim'

UNI'I`ED STATES BANKRUPTCY COUR'I`

 

DISTRICT OF DELAWARE
In re Chapter 11
CD LIQUIDATION CO., LLC, f/k/a Case No. 09-13038 (KG)
CYNERGY DATA, LLC, et al.,
Hearing Date: Octobel‘ 30, 2012
Debtors. Hcaring Time: 10:00 A.M.

 

 

OB.]ECTION BY MARCELO PALADINI TO MOTION BY MONERIS
SOLUTIONS AND BMO HARRIS BANK NA TO ENF()RCE
SETTLEMENT AGREEMENT AND FOR RELATED RELIEF'
Marcelo Paladini (“Paladini”), by and through his undersigned counsel, Aschettino Struhs
'LLP, respectfully Submits this memorandum of law in opposition to Moneris Solutions, lnc. and
BMO Harris Bank NA’s (collectively, the “Harris Defendants”) motion (the “Motion”) for an
order: (1) enforcing (A) the order approving that certain settlement (the “Settlement”) regarding
reconciliation of amounts related to the rolling reserve iilnd (the “Settlement Order”), (B) the

order confirming (the “Confirmation Order,” and together With the Settfement Order, the

“Orders”) the loint Plan of liquidation (the “Plan”) of CD Liquidation Co., LLC, CD

 

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Liquidation Co. Plus, LLC, and Cynergy Data Holdings, Inc. (collectively “Debtors”) and (C)
compliance with the Plan; and (2) enjoining Marcelo Paladini from prosecuting the action
against the Harris Defendants that is currently pending in the United States Distriet Court for the
Soutlrern District of New York (the “District Court” , entitled lia’m'celo Paladirri v. BM'O Harris
Bank, N.A. and Moneris Solutions, lrrc., bearing civil action number 12-cv-05178 (the “SDNY
Action”).

PRELIMINARY STATEMENT

Tlre l-larris Defendants attempt to circumvent the appropriate jurisdiction of a federal
district court under the guise of a motion to enforce the prior Settlernent Order of this Court.
This Court has no jurisdiction over the parties and claims presented in the SDNY Action.
Indeed, that dispute is between non~debtor parties and involves claims that are direct and
personal to Paladini. And the Settienrent Order contains express carve-cuts for the types of
claims Paladini asser'ts, and the Plan preserves this carve;out. Accordingly, the Harris
Defendants’ Motion must be denied.

in July 2012, Paladini iiIed the SDNY Action against the Harris Defendants. The
complaint (“Complaint”) alleges various causes of action that resulted in substantial damages to
Paladini, personally Rather than respond to the Complaint in that proceeding, the Harris
Defendants strategically proceeded in this Court on the basis of a misguided interpretation of this
Court’s prior history with Paladini. 'l`lre Harris Defendants improperly attempt to invoke the
jurisdiction of this Court by filing the `Motion, purportedly seeking to enforce prior orders in a
bankruptcy proceeding that was confirmed almost two years ago. The Harris Defendants argue
that the claims Paladini asserted in his Conrplaint are enjoined by the Settlement and
Coniirmation Orders and, in any event, are derivative and therefore belong to the estate of the
Debtors. rl`he Harris Det`endants’ arguments could not be more misplaced

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First, this Court, respectfully, lacks jurisdiction over the Harris Defendants’ motion.
Counsel for the Harris Defendants suggest this Court has jurisdiction not only to stay the SDNY
Action, but also to permanently enjoin it. Yet Paladini Was not even a party to the underlying
settlement agreement between the Debtors and the Harris Det`endants. That agreement resolved
certain claian between the Harris Defendants and the Debtors regarding the Debtors’ “Rollirrg
Reserves.” The settlement agreement and resulting Settlement Order contains an injunction, the
entirety of Whiclr the Harris Dei`endants failed to recite in their Motion, that makes clear that
Paladini’s claims were not enjoined and that he remained free to bring personal claims against
the Harris Defendants. hrdeed, Paladini’s claims were specifically carved out from the
injunction because Paladini anticipated asserting causes of action against the Harris Det`endants.

Second, this Court lacks subject matter jurisdiction over the dispute. At the outset, this
dispute concerns non-debtor third parties. Neither the bankruptcy estate nor any of the Debtors’
creditors have an interest in the outcome This Court has no authority to determine the potential
rights and remedies of such non~debtor third par'ties. Moreover, this Court lacks jurisdiction
because this proceeding is neither “core” nor “related to” the bankruptcy case.

Finally, the Harris Defendants argue that Paladini’s claims belong to the bankruptcy
estate, and, therefore, such claims were effectively enjoined. However, assuming, arguendo, that
such analysis is properly vvithin the Court’s domain, an analysis of the claims and Paladini’s
particularized injuries makes clear that they are personal to Paladini and, therefore, not
derivative lndeed, the liquidation Trustee has not brought any such claims against the Harris
Defendants, nor the Trustee supported the Harris Defendants’ Motion. Nevertheless, the Harris
Defendants rely heavily on a prior action brought before this Court through a motion for

injunction, entitled Pa!'adini v. Mm'r‘illo (the “Martillo Action”), in a misguided effort to

 

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demonstrate that the claims belong to the Debtors when the damages that Paladini asserts in his
Conrplaint can only be personal. The Martillo Action involved very different claims between the
co-founders and shareholders of the Debtors, along with the Trustee’s corresponding adversary
proceeding to enjoin the Martillo Action. Moreover, the Martillo Action was dismissed with
prejudice as part of an unrelated settlement with Paladini and the Trustee. Accordingly, the
Harris Defendants’ reliance upon the outcome of the Martillo action is misplaced

Because this Court lacks subject matter jurisdiction and, in any event, the SDNY Action
consists of claims that are personal to Paladini, this Court must disregard the Harris Defendants’
improper attempt at forum shopping and deny the Harris Defendants’ motion for lack of subject
matter jurisdiction

In the event the Court determines that it has subject matter jurisdiction, it should Still
dismiss or otherwise deny the Motion because Paladini’s claims in the SDNY Action are not
derivative Paladini’s claims are personal to him, Were expressly carved out of the Settlement
Order and preserved in the Confrrmation Order, and are therefore not enjoined by this Court’s
prior Orders, as discussed more fully below. The District Court is the appropriate forum for the
dispute between Paladini and the Harris Defendants, including a determination of whether
Paladini’s clainrs in the SDNY Action are detemrined to be derivative Tlris Court should
respectfully defer to the District Court for resolution of the claims between the instant non-debtor
parties.

STATEMENT OF FACTS
Cynergy Data, LLCl (“Cynergy”) was a provider of payment processing and related

merchant services for credit card and other electronic transactions that served approximately

 

l While in bankruptcy and after the completion of its Section 363 sale, Cynergy Data, LLC changed its name to CD
Liquidation Co, LLC.

 

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80,000 merchants BMO Harris Bank, N.A. (“Harris”), as Cynergy’s sponsor bank, was the
gatekeeper for all funds movements associated with credit card and other electronic transactions
for which Cynergy provided processing services 111 addition to Harris’s role as Cynergy’s
sponsor bank, Harris’s affiliate and agent, Moneris Solutions, hrc. (“Moneris”), provided certain
accounting services to Cyn'ergy. Moneris was responsible for daily reconciliation of transfers in
and out of Cynergy’s operating account to ensure the account maintained a zero balance error.
Cynergy paid Harris for these additional services

In July 2009, Moneris claimed that over $21 million of merchant funds should have been,
but had not been, deposited and maintained in an account at Harris, per the direction of specific
agreements in place between the parties As a result of this alleged shortfall in what was referred
to as “Rolling Reserves,” Harris suspended all funding to Cynergy to initiate the immediate
recovery of those funds At the time, irene of the disputed funds were due to be paid to the
underlying merchants

Harris prepared and presented to Cynergy and Paladini a forbearance agreement (the
“Forbearance Agreernent”).2 The Harris Defendants threatened to continue suspending funding
if Cyner'gy and Paladini did not sign the For'bearance Agreement. W ithout access to its operating
revenues Cynergy would not be able to operate its business More urgently, the Harris
Defendants’ actions prevented Cynergy from paying commissions (known as “residuals”) to its
downline agents and affiliates who relied upon such payments from Cynergy for their livelihood
Continued non-payment of these residuals would lead these downlines and agents to move
Cynergy’s merchants to another processing platform, thus eviscerating Cynergy’s business And

Paladini would then be called on to pay under his personal guarantees and other contractual

 

2 Harris required that Paladini personally sign the Forbearance Agreernent since Paladini was a guarantor of certain
agreements that existed with Cynergy’s lenders

 

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covenants Thus the Harris Defendants, through economic duress, forced Cynergy and Paladini
to sign the Forbearance Agreement. The Forbearance Agreement purported to vitiate certain
subordination agreements discussed below, the effect of which was to expose Paladini to
additional personal liability. Ultimately it was both the existence and the terms of the
Forbearance Agreenrent that bankrupted Cynergy, resulting in the termination of Paladini’s
employment and personal exposure under the various guarantees and credit faculties Paladini had
executed

On September 1, 2009, Cynergy filed for Chapter‘ 11 protection The Harris Defendants
were creditors in the bankruptcy proceeding, as was On or about October 28, 2009, The
ComVest Group purchased Cynergy for roughly 881 million dollars - more than $40 million less
than the amount owed to Cynergy’s creditors Paladini, through his guarantees, was responsible
for the shortfall.

On or about June 2, 2010, the Harris Defendants and the Debtor entered the Settlement,
which was detailed in a term sheet. The Settlement was approved by the Court through the
Settlement Order entered on September 13, 2010 (a copy of which is attached as Exhibit A),
discussed more fully below. Paladini, a non-party, was not a signatory to the Settlement
agreement3

rfhc Settlernent Order contained certain releases for the benefit of the estate. Specifically,
the Settlement Order contained the following language:

Except as expressly permitted by the Settlement Term Sheet, all
parties in interest in the Bankruptcy Cases hereby are forever

barred, estopped and permanently enjoined from: (a) commencing
or continuing in any manner any action or other proceeding,

 

3 Specitically, the parties to the Settlement were Harris Bank and Moneris Solutions, Dymas Funding Company,
LLC, Ableco Finance LLC, A3 Funding LLC, Garrison Credit Investments l LLC, Comerica Barrk, Wells Fargo
Capital Finance, LLC, CD Liquidation Co., LLC, f/k!a Cynergy Data, LLC, Cynergy Data Holdings, lnc., and CD
Liquidation Co. Plus, LLC, f/kfa Cynergy Prosperity Plus, LLC.

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asserting, prosecuting or otherwise pursuing any claims, rights or
causes of action, (b) enforcing, attaching, collecting or recovering
in any manner any judgnrent, award, decree or order, (c) creating
perfection or enforcing any lien or encumbrance or (d) asserting a
setoff, right of subrogation or recoupment of any kind, against a
Selling Party; (i) released under this Order, or the Settlement Term
Sheet or (ii) related to reserves identified in the Bankruptcy Cases
as part of the Settlement Escrowed Funds; provided, however, that
the foregoing provisions shall exclude and not apply to (x) ..., (y)
..., and (z} with respect to clause (ii) in this paragraph 11
related to the reserved identified in the Bankruptcv Cases
should not be construed to preclude Mr. Paladini from
asserting claims or defenses to claims asserted against him
which claian or defenses arc indirectly related to the reserves
but do not affect the entitlement to, calculation of, ownership,
control, or distribution of the reserves, or to preclude any party
from asserting claims or defenses against Mr. Paladini or against
any other party in interest that is not a Selling Party.

(Settlement Orderji 12.) (emphasis added). As the language makes clear, the release specifically
carved out claims that were personal to Paladini, going so far as to even include potential claims
relating to the Rolling Reserves. Paladini specifically negotiated this language to preserve future
claims against the Harris Defendants. Tire Settlement Order therefore expressly contemplated
that Paladini could bring claims at a later date for injuries sustained by him personally

On December 21, 2010, this Court confirmed the Debtor’s Plan pursuant to the
Confinnation Order. The Settlement was preserved in the Plan.

in luly 2012, Paladini commenced the SDNY Action. 111 it, Paladini alleges six separate
causes of action: (i) economic duress; (ii) breach of the covenant of good faith and fair dealing;
(iii) breach of fiduciary duty; (iv) tortious interference with business relations; (v) general
malpractice; and (vi) negligence Paladini’s damages arise as a result of his position as majority
shareholder and guarantor of Cynergy, as well as his status as a signatory to the Forbearance

Agreement.

 

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'l`he Complaint also details Paladini’s particularized personal injuries Paladini outlines
how his fourteen-year reputation as an award-winning entrepreneur and successful CEO of a
leading payments processing company and person of the highest integrity was damaged beyond
repair. (Compl. 1167). Rurnors in the industry created by Harris and others, insinuations that
Paiadini had some direct involvement in causing the alleged shortfall of $21 million of merchant
funds and the Debtors’ former CFO purportedly fleeing the country all supported a false
assumption in the industry that Paladini had siphoned funds from the Debtors. (Cornpl. 1[168-
170). The Complaint further details how this harm to his reputation will forever bar him from
working in the electronic payments industry The only employment he was able to obtain was
from CornVest, the ultimate purchaser of Cynergy’s assets, which was a self~serving attempt to
glean as much of Paladini’s knowledge about the Debtors before subsequently discharging him.
(Compl. 11171-175).

Additionally, Paladini also details in the Cornplaint how he was personally harmed by
being forced to sign the Forbearance Agreernent, which subjected Paladini to personal liability
(Cornpl. 11177-183) and ultimately a barrage of lawsuits (Compl, 162~164).

Fur'ther, Paladini explains in the Cornplaint how he was personally injured by the Harris
Defendants’ fabricated breaches, laying the blame on Paladini when really the Harris Defendants
were mishandling the accounts and attempting to hide their own breaches of Var‘ious credit card
agreements

The Complaint further describes how the Harris Defendants negligently failed to
discharge their duties and obligations to Paladini in monitoring the daily transactions of Cynergy,

providing incorrect and negligent information and accounting functions to Paladini, that he relied

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to his detriment upon in obtaining new loans, securing personal guarantees, and executing
various ancillary agreements as detailed more fully in the SDNY Action. (Cornpl. 1|191-200).

Finally, the Cornplaint details how the Harris Defendants interfered with Paladini’s
business relations with EVO, which was seeking to acquire the business, forcing the sale price of
Cynergy drastically lower. (Cornpl. 1204-211). n

On August 31, 2012, rather than filing an answer or motion in the District Court in
response to the Complaint, the Harris Defendants improperly filed a motion with this Court
seeking to “enforce the Court’s prior orders releasing and enjoining any claims of the Debtors
against the defendants” and to enjoin the SDNY Action. (Motion, p. l.) The Harris Defendants
purport that this Court has subject matter jurisdiction over this dispute. They incorrectly argue
that all of Paladini’s claims are derivative, not direct, and therefore belong to the Debtors.
Assuming the claims do belong to the Debtors, the Harris Defendants further purport, those
claims have allegedly been released and enjoined through the Orders. The l-larris Defendants’
motion is improper, lacks merit and wastes the valuable resources of this Court as an attempt to

adjudicate disputes between two non~debtor third parties post-confirmation

I. THIS COURT LACKS JURISDICTION OVER THIS PROCEEDING ON THREE
SEPARATE GROUN])S

A. Paladini’s Claims Against the Harris Defendants Were Specifically Carved
Out from the Settlement Order

This Court lacks jurisdiction over the proceeding initiated by the Harris Defendants
because the claims that Paladini seeks to prosecute in the SDNY Action were specifically carved
out from the injunction contained in the Settlement Order and preserved by the Plan. This Court
cannot enforce a part of the Settlement Order and the Plan that does not exist. As such, there is

simply no basis for this Court to enjoin the SDNY Action.

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As explained in the Statement of Facts, the dispute that led to the underlying Settlement
was a dispute between the Debtors, the Harris Defendants, and others. Paladini was not a party
to that settlement A review of the June 2, 2010 Settlement Term Sheet Summary of Proposed
Terms and Conditions (Ex. A to Dkt. No. 863 (the “Term Sheet”)) makes that clear. While
Paladim` was an officer, director and shareholder of the Debtors, he did not sign on to the
Settlement Agreement in any of these capacities or individually

On December 21, 2010, this Court confirmed the Plan pursuant to the Confirmation
Order. As the Harris Defendants point out in their Motion, and as explained, supra, the Plan
contains certain releases and injunctions for the benefit of the estate. See Plan, at Art. Xll.
Specifically, the Harris Defendants state that this Cour't “enjoined actions of claims against
Moneris” and quotes select language from the Settlement Order. (Moneris Motion, p. 8).
However, the Harris Defendants neglect to furnish the Cour't with the express language that
specifically calves out claims (and defenses to claims) that belong to Paladini. Counsel for
Paladini was careful to make clear in the Settlement Order that any claian Paladini may wish to
prosecute at a later date were specifically carved out from the injunction, including claims
relating to the reserves The entirety of the injunction reads as follows:

Except as expressly permitted by the Scttlement Terin Sheet, all
parties in interest in the Bankruptcy Cases hereby are forever
barred, estopped and permanently enjoined from: (a) commencing
or continuing in any manner any action or other proceeding,
asserting, prosecuting or otherwise pursuing any claims, rights or
causes of action, (b) enforcing, attaching, collecting or recovering
in any manner any judgment, award, decree or order, (c) creating
perfection or enforcing any lien or encumbrance or (d) asserting a
setoff, right of subrogation or recoupment of any kind, against a
Selling Par'ty; (i) released under this Order, or the Settlement Term
Sheet or (ii) related to reserves identified in the Banl<ruptcy Cases
as part of the Settlement Escrowed Funds; provided, however, that

the foregoing provisions shall exclude and not apply to (x) ..., (y)
..., and (z) with respect to clause (ii) in this paragraph 11

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related to the reserved identified in the Bankruptcv Cases
should not be construed to preclude Mr. Paladini from
asserting claims or defenses to claims asserted against him
which claims or defenses are indirectly related to the reserves,
but do not affect the entitlement to, calculation of, ownership,
corrtrol, or distribution of the reserves, or to preclude any party
from asserting claims or defenses against Mr. Paladini or against
any other party in interest that is not a Selling Party.

(Settlement Order jj 12.) (emphasis added). As the emphasized language plainly states, Paladini
may bring personal claims against the Harris Defendants.

In addition, during the Confirrnation Hearing on the Plan before Your Honor, counsel for
the Debtors emphasized to the Couit that Paladini’s personal claims were carved out and not
enjoined:

MR. DREBSKY: As to what is in the plan, and l can represent as
to any claims that are personal to Mr. Paladini, this plan doesn’t

affect it. Tl:e releases to third parties do not affect any claims
that are personal for Mr; Polmlini.

Transcript of Confirmation Hearing at 24:17-20, ln re CD Liquidatiou Co. LLC (December 21,
2010) (No. 09-1303 8) (ernphasis added) (a copy of the relevant pages are attached as Exhibit B).
The .Court expressly adopted this representation by Debtors’ counsel into the Court’s Order
Confirming the Debtors’ Plan:

THE COUR'I`: And my ruling finding that the plan should be

confirmed incorporates those representations Mr. Drebsky,

namely, that the injunction does not limit personal claims from
being pursued

ld. at 64:3-6 (emphasis added). Accordingly, this Court camrot enforce a Settlement Order that
bars the personal claian that Paladini has brought in the SDNY Action when the Settlement
Order and Confirmation Order both expressly permit those claims. Therefore, this Court should
deny the Harris Defendants’ motion seeking to enjoin the SDNY Action.

B. The Bankruptcy Cour't Lacks Subject Matter Jurisdiction Over This Dispute

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The Motion must be denied because the Bankruptcy Court lacks subject matter
jurisdiction to consider the Motion. A federal court “presumptively lacks jurisdiction” over a
proceeding unless the plaintiff establishes that jurisdiction exists. fn re Porrer v. NarionsCredit
Consumer Discouuf Co., 295 B.R. 529, 535 (Bankr. E.D.P.A. 2003). “This proposition is no less
true for bankruptcy courts which, despite their expanded jurisdictional grant found in 28 U.S.C. §
1334, remain courts of limited jurisdiction.” ld. (emphasis added).

1. This Is A Dispute Between Non-Debtor Parties

At the outset, where, as here, the Cour't is dealing with a dispute between third parties in
which the estate of the debtor has no interest, the bankruptcy court lacks jurisdiction over that
dispute. See, e.g., fn re McConag/iy, 15 B.R. 480, 481 (Bankr. E.D. Va. 1981); see also
Sclnmracher v. erile, 429 B.R. 400, 406 (E.D.N.Y. 2010) (banl<ruptcy courts have no power to
hear third-party disputes that are collateral to the banl<ruptcy). ln McConagl'/y, a creditor filed a
complaint to enforce a mechanic’s lien. The defendants moved to dismiss, arguing that the court
lacked subject matter jurisdiction over the complaint The court determined that because the
property on which the mechanic’s lien rested had been foreclosed upon and purchased by a third
party, the defendant debtor no longer had any interest in the property. Accordingly, the court
concluded that it lacked jurisdiction over the dispute because it “lacks jurisdiction to decide
disputes between third parties in which the estate of the Debtor has no interest.” ld. at 481

Other courts have relied upon McConag)'ry to render similar conclusions regarding
subject matter jurisdiction For example, in Texas Ar'r Corp. v. Az`r Li'ne Pz`lofs Ass’n, lut’l, the
court remanded a matter to the district court because the dispute at issue arose between two non-
debtors. Even if the moving party were to be victorious on its claims, “the debtor’s estate would
not be effected because the award would be against {the defendantj, a non-debtor, and not [] the
debtor.” No. H-84-530, l985 WL 56708, at *2 (S.D. Tex. Jan. 23, 1985). See also fn re

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Guimond Farms, Inc., 10 B.R. 177, 179 (Bankr. D. Mass. 1981) (“Third parties cannot confer
jurisdiction on the Cour't in disputes in which the estate is not irrvolved.”).

As is clear from the parties involved here, this is not a dispute in which the estate of the
Debtors has any interest. Indeed, the three Debtors in the underlying bankruptcy proceeding are
CD Liquidation Co., LLC, f/k/a Cynergy Data, LLC, Cynergy Data Holdings, lnc., and CD
liquidation Co. Plus, f/k/a Cynergy Prosperity Plus, LLC. None of these Debtors are named or
in any way involved in the dispute now between the Harris Defendants and Paladini, nor is the
liquidation Trustee involved

ln addition, even though “there may be common issues of fact between a civil proceeding
and a controversy involving the bankruptcy estate does not bring the matter within the scope of
section l47l(b),” for “[j]udicial economy itself does not justify federal jurisdiction.” Pocor, lnc.
v. H:'ggins, 743 F.Zd 984, 994 (3d Cir'. 1984). Accordingly, the Court should dismiss The Harris
Defendants’ Motion for lack of subject matter jurisdiction because the estate of the debtor has no
interest in the dispute.

2. This Is a Non-Core Proceeding Unrelated to the Debtors’ Ba'nkruptcy

Furthermore, the Third Circuit has held that the Bankruptcy Cour't’s jurisdiction over a
case involving non-debtors is to be determined solely by 28 U.S.C. § l334(b). See Quortrone
Accormtanfs, lnc. v. IRS, 895 F.2d 921 (3d Cir. l990). ln order to determine whether a particular
proceeding is within the confines of bankruptcy court jurisdiction, the proceeding must fall
within one of three general categories 111 re Porter, 295 B.R. at 535.- “f"irst, there are ‘core’
proceedings which may be heard and resolved by the bankruptcy court via final judgment.” lcl.
(citing 28 U.S.C. § 157(b)(1)). As established by 28 U.S.C. § 1334, core proceedings consist of
two sub-categories “those that ‘arise under’ and those that ‘arise in’ the bankruptcy case.” Id.
The 'l`hird Circuit has construed section 1334 to state “that a proceeding is core under section

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157 if it invokes a substantive right provided by title ll or if it is a proceeding that, by its nature,
could arise only in the context of a bankruptcy case.” fn re Mm'c-us Hook Dev. Park, lnc., 943
F.2d 261, 267 (3d Cir. 1991) (internal quotations and citation omitted). rl`herefore, “[i]f the
proceeding does not invoke a substantive right created by the federal bankruptcy law and is one
that could exist outside of bankruptcy it is not a core proceedirrg.” 111 re Guild and Gallery Plus,
Inc., 72 F.3d 1171, 1178 (3d Cir. 1996).

The second category of proceedings involves what are referred to as “non~core” or
“related” proceedings “Non-core proceedings include the broader universe of all proceedings
that are not core proceedings but are nevertheless ‘related to’ a bankruptcy case.” fn re Porter,
295 B.R. 529, 536. The “test for determining whether a civil proceeding is related to bankruptcy
is Whether the outcome of that proceeding could conceivably have any effect on the estate being
administered in bankruptcy.” Pacor, 743 F.2d 984, 994. “An action is related to bankruptcy if
the outcome could alter the debtor’s rights, liabilities, options, or freedom of action (either
positively or negatively) and which in any way impacts upon the handling and administration of
the bankrupt estate.” Id.

ln addition, where, as here, the Bankruptcy Court has continued the Plan, “all courts that
have addressed the question have ruled that the already-limited ‘r‘elated to’ jurisdiction shrinks
considerably. See, e.g., fn re Gen. Media, Irrc., 335 B.R 66, 73 (declining jurisdiction over action
brought by successor-in-interest to Chapter ll debtor Who had brought adversary proceeding to
recover from debtor’s principal for breach of fiduciary duty and conversion).

Then there exists the final category, which consists of the following:

Finally, the third category of proceedings are those which fall
outside the definition of ‘related to’ because their outcome Would

have no effect upon the bankruptcy case. This is generally because
their outcome Will not affect the property to be administered in the

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bankruptcy case, the total assets to be distributed, or the total
claims to be paid. Over these ‘unrelated’ proceedings, a
bankruptcy court has no subject rnatterjurisdiction.

fn re Porter, 295 B.R. 529, 53 8.

Here the Harris Defendants’ request for an injunction does not fall under the first
category because the SDNY Action constitutes a lawsuit between two non-debtor parties in a
non-bankruptcy forurn, and therefore is not brought under title ll and does not arise under or in a
case under title 11. lt is not a “core” proceeding because it does not involve a substantive right
provided by Title 11, nor is it a proceeding that could arise only in the context of a bankruptcy
case. Therefore, the action cannot be deemed a “core” proceeding and the Court should dismiss
the Harris Defendants’ Motion for lack of subject matter jurisdiction The District Couit is the
appropriate forum.

Further, the SDNY Actiorr is not a “non-eore” proceeding because it is not “related to” a
case under title ll because the action will not alter, in any Way, “the debtor’s rights, liabilities,
options, or freedom of action.” Indeed, the SDNY Action does riot implicate the three debtors to
the underlying bankruptcy proceeding or the Liquidation Trustee; nor has Paladini asserted any
claims against the debtors in the SDNY Action. Paladini has sued the Harris Defendants for
injuries that Paladini suffered individually

Moreover, the instant action is brought post-confirrnatiorr, where the Court’s jurisdiction
under well settled precedent is already limited. Even more so here, Where the issues relate to a
dispute as between two non-debtor third parties that was specifically contemplated and preserved
for adjudication outside of the bankruptcy court, as discussed above. Paladini’s claims in the
Complaint amount to a two-party dispute arising out of the particularized injuries he suffered as
a result of the Harris Defendants’ tortious conduct and is entirely independent of the Plan or the
rights of the Debtor. Presr'dentia! Gardens Assocs. v. U.S. er rel. Sec. of Housing and Urb(m

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Dev., 175 F.3d 132, 142 (2d Cir. 1999) (because “this suit is, in essence, a dispute between [third
parties], [w]e . . . find that, as a result, this suit does not fall within the scope of 28 U.S.C.
§ 1334. Therefore, Plaintiffs-Appellants’ attempt to invoke bankruptcy jurisdiction fails.”) (See
Section lil, srrpm).

The Harris Defendants fail to explain or even assert how the litigation of Paladini’s
claims could alter the Debtor’s rights, liabilities, or actions. Paladini’s Complaint consists of
state law claims asserted solely against a non-debtor and seeks to recover losses incurred by
Paladini, not the Debtors - - claims specifically contemplated and carved out from the Settlernent
Order and Confirrnation Order. In short, there is no “close nexus” to the bankruptcy
proceedings, as there must be for “related to” jurisdiction to exist. See also Gr'bson v. Kassover
(In re Kassover), No. 98-43124, 2008 WL 4845757, at * 3 (Bankr‘. S.D.N.Y. Oct. 30, 2008)
(ev.en though the plan and confirmation order contained retention provisions, it “enconrpasses
only claims that affect the Debtor’s estate not third party claims against a nondebtor that have no
effect on the estate”).

Finally, neither of the Harris Defendants are debtors, and the SDNY Action does not
affect the property of the Debtors. lnstead, the SDNY Action seeks damages for harms
particularized to Paladini. As a result, it is apparent that the SDNY Action involves claian that
fall outside the definition of “related to” claims and over which this Court lacks jurisdiction
Accordingly, this Cour't should not enjoin the SDNY Action and should instead dismiss the
Harris Defendants’ Motion.

C. The Harris Defendants’ Motion Violates Bankruptcy Rule 7001

Tlre Harris Defendants’ Motion requires an adversary proceeding in accordance with
Bankruptcy Rule 7001. The Harris Defendants should have thus sought the relief requested in
their Motion by way of an adversary proceeding commenced by filing and service of a summons

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and complaintl Because the Harris Defendants failed to proceed as required by law and due
process, their Motion must be dismissed

Bankruptcy Rule 7001 provides that a proceeding to obtain an injunction is required to be
commenced by an adversary proceeding Fed. R. Bankr. P. 7001(7). Pursuant to Bankruptcy
Rule 7003, an adversary proceeding is commenced by filing a complaint Fed, R. Bankr. P.
7003. “Courts,have generally required strict compliance with the Federal Rules of Bankruptcy
Procedure.” Stacy Fuel & Sales, lnc. v. fm Phr`llips, Inc. (In re Smcy , 167 B.R. 243, 248 (N.D.
Ala. 1994). Accordingly, the Harris Defendants’ Motion should be dismissed for failing to
request injunctive relief with a summons and complaint See, e.g., fn re hrrrovafr've
Coz)r))rum'car‘l`on Co., LLC, Nos. 06-30008, 06-30009, 2008 WL 4755763,7 at *5 (D. VI Oct. 27,
2008) (“By requesting injunctive relief by motion before this Cour't rather than by commencing
an adversary proceeding..., [debtor-appellant] ha{d] failed to comply with the requirements of`
Rule 7001.”); see also fn re Perkirrs, 902 F.2d 1254, 1258 (7th Cir. 1990) (holding that a Rule
7001 matter “commerrced by motion rather than by complaint Will be dismissed”); br re Stcrcy,
167 B.R. at 249 (affirrnirrg the bankruptcy court’s decision to strike a motion for injunctive relief
because “[u]nder' the F ederal Rules of Bankruptcy Procedure, the relief sought by [the
mortgagee] could not have been obtained by motion but rather necessitated the institution of an
adversary proceeding”).

Furthernrore, even if the Harris Defendants had commenced an adversary proceeding,
that proceeding would have been subject to immediate dismissal because, as previously
articulated, bankruptcy courts lack jurisdiction to hear disputes between non~debtor third parties

not in bankruptcy that do not affect the debtor or the estate. See, e.g., fn re McConaghy, 15 B.R.

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480, 481 (Bankr. E.D. Va. 1981); cf br re Coutinentai Airlines, 203 F.3d 203, 214 fn.l2 (3d Cir.

2000); Celotex Corp. v. Edwards, 514 U.S. 300, 308 fn.5 (1995).

II. The SDNY Action Consists of Direct, Not Derivative, Claims
A. The Claims Against The Harris Defenda-nts Are Personal

“ln a bankruptcy proceeding, state law determines whether a right to sue belongs to the
debtor or to the individual cr'editor.°’ Mediar'ors, nrc v. Mm-rney (In re The Medr`ators, luc.), 105
F.3d 822, 825 (2d Cir. 1997). “lf the cause of action belongs to the estate, the trustee has
exclusive standing to assert it; conversely, if the cause of action belongs solely to the . . .
creditors, the trustee has no standing to assert it.” Goldin v. Primavera Familr'enStUirmg, Tag
Assoc. (In re Granite Par'mers, L.P.), 194 B.R. 318, 324-25 (Bankr. S.D.N.Y. 1996). Therefore,
a bankruptcy trustee cannot bring a cause of action against a third party when that cause of action
belongs to the creditors of the debtor. E.F. Hrltfon & Co. v. Hadley, 901 F.2d 979, 985-86 (l lth
Cir. 1990). “‘Congress has not yet indicated even a scintilla of an intention”’ to confer such
standing on trustees, “‘and [ j such a policy decision must be left to Congress and not_to the
judiciary.’” Id. (quoting Caph'n v. Marr'ne Mr.'dlmrd Grace Trusf Co., 406 U.S. 416, 434 (1972)).4

Assurning the instant third party (non-debtor) dispute is properly before this Court in the
first instance, which Paladini disputes$, for purposes of this Motion, the allegations stated in the

Cornplaint must be accepted as true. Bohlen v. Um'ted Stafes, 623 l". Supp. 595 (C.D. lll. 1985)

 

4 The court in E.F. Hutton noted that Congress “considered and rejected” an opportunity to overrule the decision in
Caph'n (prohibiting trustees from bringing personal third party causes of action) when it drafted the revised
bankruptcy code in 1978.

5 The determination as to whether a claim is personal or derivative is not properly made in the bankruptcy court,
especially when there is a suit pending in an appropriate forum that is better equipped to address the direct versus
derivative issue. See A.T. Massey Coal Co. v. Hm')rmn Dev. Co)~p. (In re Soverefgn Coul Sales), Case No. 7-98~
01992, 2000 Bankr. Lexis 2092, at *26 (Bankr. W.D. Va. Nov. 28, 2000) (wher'e the court determined that deciding
whether claims of a third party and debtor were direct or derivative was an issue properly decided by state or federal
district court - - not bankruptcy court. Only if the claims are derivative does the bankruptcy court have the right to
step in. 'l`o hold otherwise would “place the cart before the horse.”).

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(allegations in complaint taken as true for purposes of determining motion to enforce settlement).
As provided above, in the SDNY Action, Paladini alleges six separate causes of action: (i)
economic duress; (ii) breach of the covenant of good faith and fair dealing; (iii) breach of
fiduciary duty; (iv) tortious interference with business relations; (v) general malpractice; and (vi)
negligence

Here the Harris Defendants’ erroneously assert, without regard for due process and a fact
determination, that the clainrs at issue are not personal or, alternatively, that if a cause of action
could be brought by the coiporation, an individual third party cannot pursue them (see the Harris
Defendants Brief, p. 14). However, this is misdirected and ignores the claims and individualized
injuries suffered by Paladini.

indeed, When a creditor has a claim for injuries particularized to him (even if the debtor
Was also injured), that cause of action belongs to the injured creditor. For example, in Hirsch v.
Ai'thm' Arrderson & Co., 72 F.?)d 1085 (2d Cir. 1995), the trustee tried to usurp the individual
creditors by bringing a suit for malpractice and negligence, among other clairns, against the
accountant for the debtor. The Cour't held “claims predicated upon the distribution of misleading
PPMs to investors... are the property of those investors, and may be asserted only by them and to
the exclusion of [the trustee].” Id. at 1094. The Court further held that, with regard to

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professional malpractice, When a bankrupt corporation has joined With a third party in
defrauding its creditors, the trustee cannot recover against the third party for the damage to the
‘ creditors.”’ Id. (quoting Shearson Lehman Hulfon, luc. v. lf/agoner, 944 F.2d 114, 120 (2d Cir.
1991). Since the damage suffered by the defendant accountant’s deficient due diligence

investigation Was “passed on to the investors”, the investors, and not the trustee, were the only

parties With the right to recover on the malpractice claim. Id.

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Moreover, sinrilarly, in E.F. Hutton, the court determined that the bankruptcy trustee did
not have standing to bring a cause of action for negligence The bankruptcy trustee brought a
lawsuit against the margin account holder of the debtor for negligence for allowing the debtor to
open and maintain a margin account when the debtor was engaging in a Ponzi sclrerne. E.F.
Hufton, 901 F.2d 979. The District Cour't denied defendant’s motion to dismiss and motion for
sunnnary judgment, determining that the bankruptcy trustee did have standing to bring a cause of
action for negligence against a third party who injured the debtor and the debtor’s creditors
Nevertheless, the Cour't certified this issue for direct appeal. The llth Circuit disagreed,
determining that it would have ended the case by granting the defendant’s motion to dismiss
because the cause of action was personal to the creditors of the estate, not the trustee.
Specifically, the debtor’s creditors, who were injured customers of the debtor that had purchased
securities through the debtor which were subsequently sold by the defendant, were the proper
parties to bring a cause of action against the defendant for negligence The Cour't distinguished
between general causes of action on behalf of all of the debtor’s creditors, which the trustee
would be entitled to bring, and a personal cause of action on behalf of only some of the debtor’s
creditors, which is required to be brought by the creditors. It was the creditors’ particularized
injury that centered standing on the creditors and not the trustee. E.F. Huffon, 901 F.2d at 987.
See also Twin Mfg Co. v. Blum Shapr'ro & Co., P,C., No. 380220, 1992 Conn. Super LEXIS 409
(Conn. Super. Ct. 1992) (where third party purchaser of company brought negligence cause of
action against company’s accountant arising out of negligently preparing financial statements
that purchaser relied onto buy company Cour't held that defendant was aware that the purchaser
would rely on its work product and it was that work product that induced purchaser to buy

cornpany, so cause of action for negligence belonged to third party purchaser); Barrkers Trusi‘ Co.

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v. R)'ioades, 859 F.Zd 1096, 1101 (2d Cir. 1988) (where officers of the debtor’s corporation
engaged in fraud, bribery, and perjury and the court held that the damage was caused to the
creditor, not the estate); Hunfer v. Cirr`bank, Case No. 09~02079, Dkt. No. 354, p. 8 (N.D. Cal.
July 20j 2010) (holding investors had direct claian for breach of fiduciary duties as trust
beneficiaries); C'umber[and Oil Co)p. v. Thropp, 791 F.2d 1037, 1042 (2d Cir. 1986) (right to
recover for fraudulent inducement of contract belongs to creditor, not the bankruptcy estate).
Here Paladini is bringing claims for particularized injuries he ~~ not the Debtors --
suffered.6 While the causes of action vary, the instant dispute focuses on personal harm inflicted
upon Paladini by the Harris Defendants in, amongst other things: (i) the Harris Defendants
coercing Paladini into executing the Forbearance Agreement as detailed more fully in the SDNY
Action and above, which had the effect of nullifying certain subordination agreements executed
by D'efendants, subjecting Paladini to additional personal liability (Compl. 11177-183); (ii) the
Harris Defendants’ course of conduct in spreading false rumors and concocting breaches that did
not exist, in attempting to make Paiadini the scapegoat for the Harris Defendants’ own misdeeds
and mishandling of accounts, all as a means to hide the Harris Defendants’ own breaches of
various agreements, including Visa and MasterCard agreements that could subject the Harris
Defendants to sanctions within the industry (Cornpl. 11 102-109); (iii) the Harris Defendants’
negligently failing to discharge their duties and obligations to Paladini in monitoring the daily
transactions of Cynergy, providing incorrect and negligent information and accounting functions
to Paladini, that he relied upon in obtaining new loans, securing personal guarantees, and
executing various ancillary agreements as detailed more fully in the SDNY Action and above, all

of which Paladini relied upon to his determinant, in breach of Defendants’ position of trust and

 

6 This court is required to take all “factual allegations as true and draw all reasonable inferences in the plaintist
favor_” Goldster'n v. Patakr', 516 F.3d 50, 56 (2d Cir. 2008). Bohlen v. Unr`fed Stafes, 623 F. Supp. 595 (C.D. Ill_
1985) (allegations in complaint taken as true for purposes of determining motion to enforce settlement). t

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confidence (Compl. 11192-200); and (iv) the Harris Defendants interfering with Paladini’s
business relations with EVO, amongst other tlrings, which was seeking to acquire the business
(Compl. 11205-211).

Like in E.F. Hzrrton and Hir'sc]r, these causes of action -are direct because Paladini is
alleging particularized claian and injuries to hirn for tort, negligence, malpractice, and
interference with business relations, amongst other things. As alleged in the Complaint, as a
result of the Harris Defendants’ course of conduct, Paladini sustained significant and irreparable
personal injury. Among other things, the Harris Defendants performed certain accounting
services. As such, they owed a duty to Cynergy and its officers and directors - including
Paladini -- to exercise reasonable care and diligence in performing those duties. Paladini
reasonably relied upon the Harris Defendants’ negligent accounting services to his detriment
Moreover, Paladini was personally harmed as a result of the damage to his reputation and
business relationship with EVO, loss of employment, the evisceration of his equity, and personal
exposure to additional debt that he was otherwise not responsible for, absent the Harris
Defendants’ breach of the subordination agreement and Forbearance Agreement.

In addition, by virtue of the Harris Defendants’ actions, Paladini was subjected to claims
by various creditors for the shortfall attributed with the fire sale for the business and by virtue of
certain personal guaranties either entered or extended by virtue of acts and omissions of the
Harris Defendants Paladini’s injuries also include damages in cormection With several lawsuits
that have been brought against him, personally, as a result of the Harris Defendants’ conduct.
The first two state court lawsuits, as detailed in the Complaint, seek to hold Paladini liable for
loans made to Cynergy (Compl. 11 162). The bankruptcy trustee for Cynergy also filed a lawsuit

against Paladini, in his personal capacity. And one of Cynergy’s lenders filed a lawsuit against

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Paladini (Conrpl. 11l63).7 Paladini has incurred substantial legal fees and other financial harm as
a result of the lawsuits described above. (Cornpl. 11164).

Worst of all, Paladini’s fourteen-year reputation as air award-winning entrepreneur,
successful CEO of a leading payments processing company and person of the highest integrity
was damaged beyond repair. (Compl. 1167). The combination of rumors initiated from
conversations between the leaders of EVO and Moneris, coupled with the claimed and published
shortfall of funds in the amount of $2l million dollars caused irreversible damage to the
perception of Paladini in the payments industry (Cornpl. 1]168). Further, in the aftermath of the
Forbearance Agreement, the former CFO, Gustavo Ceballos, left the United States, fueling
rumors that Cynergy’s leaders had somehow siphoned funds for their personal use. (Compl.
1169). All of these details served to support an assumption in the public that Paladini, as the
former CEO of Cynergy, was responsible for mishandling $21 million of company funds.
(Compl. lll 70).

Having suffered such irreparable damage to his reputation, Paladini will undoubtedly
never obtain a position with the electronic payments industry again. (Compl. ll 171).
Inrmediately following the sale, the only job offered to Paladini was by Coanest, the ultimate
purchaser of Cynergy’s assets (Compl. 1[172). ComVest’s engagement of Paladini was strategic
CornVest sought to obtain Paladini’s knowledge and expertise in order to guaranty the
continuance of Cynergy and thus to protect CornVest’s newest asset. (Compl. ll 173).
Subsequently, in February 2012, having apparently obtained all of the knowledge ComVest felt
it needed to run Cynergy, Paladini was uncerernoniously discharged (Comp. 11174). Now
unemployed, Paladini has no alternative but to abandon the industry in which he spent most of

his career and pursue opportunities in other industries (Compl. 1175).

 

7 'l`he Trustee and Lender lawsuits were settled and have been dismissed

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The personal and particularized injuries outlined above and in the Complaint were
suffered only by Paladini as a result of the Harris Defendants’ conduct and could not have been
suffered by the Debtors. As such, the Harris Defendants’ request for an injunction must fail.

Because the SDNY Action includes only direct claims of Palad.ini and not derivative
claims, the Harris Defendants cannot succeed on the merits of their claims. See Republic
Undemvrifers IHS. Co. v. DBSI Repz.'blic, LLC (In re DBSI), 409 B.R. 720, 73l (Bankr'. D. Del.
2009) (where court held that plaintist faulty legal premise that rejection of a lease amounts to a
termination was wrong and, therefore, the plaintiff could not be successth on the merits and the
injunction had to be denied). The legal basis for the Harris Defendants’ request for an injunction
is flawed because the causes of action Paladini has brought against the Harris Defendants are

direct in nature. Accordingly, the motion must be dismissed

III. The Allegations in the Complaint Ar'e In No Way Sin;rilar to Those Brought in the
Martillo Action.

T he Harris Defendants wrongfully allege that the claims in the Complaint are identical to
the claims Paladim` brought against Martillo in the United States District Court for the Southern
District of New York (the “Martillo Action”) and, therefore, because this Court granted a motion
for an injunction with regard to the action brought against Martillo, this Court should also enjoin
the instant action (The Harris Defendants Motion p. 15). The Harris Defendants’ argument is
fundamentally flawed because the Martillo Action and the SDNY Action are fundamentally
different

At the outset, the Court will recall that it was the Trustee of the Debtors that sought the
injunction in the Martillo Action. The Trustee brought the proceeding by properly commencing

an adversary proceeding against Paladini. In essence, the Trustee claimed that Paladini was

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seeking to usurp claims for himself that belonged to the Trustee. Paladini had commenced an
action seeking recovery of improper distributions to Martillo while the bankruptcy proceedings '
were ongoing and before the Trustee had filed its own action seeking similar relief from Martillo.
The circumstances in the SDNY Action are very different

Paladini’s claims in the Complaint against the Harris Defendants are explicitly protected
in the Settlement Order, cited above, which expressly carves out Paladini’s causes of action
against the Harris Defendants. The language was hir'ther ratified in the Plan as discussed above.
The Cornplaint against the Harris Defendants is, tlrerefore, a dispute between two non-debtor
parties that is not subject to this Cour't’s jurisdiction

The Harris Defendants also mischaracterize the SDNY Action, by focusing their
arguments on their characterizations of the operative particularized injuries and not on the claims
themselves Paladini’s injuries suffered and alleged in the Martillo Action mainly arose out of
the improper distribution Martillo received, not the particularized injuries Paladini suffered at the
hands of the Harris Defendants’ improper conduct further described above. Paladini asserted
four causes of action in that case (contribution, improper distribution, unjust enrichment or, in
the alternative, constructive trust) that are entirely different from the six causes of action brought
in the instant Complaint. l

In addition, the Martillo Action was an interlocutory ruling in an adversary proceeding
that was ultimately dismissed with prejudicial as part of the Trustee’s settlement with Paladini.
Moreover, the Martillo matter not only implicated divergent claims and a dispute between the
Trustee, not non-debtor third parties as discussed above, the decision as this Court made clear at

the original hearing on the Trustee’s motion (even assuming the underlying matter was not

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dismissed with prejudice), related only to the specific claims/causes of action brought against

Martillo, and did not bar Paladini from bringing personal claims.

CON CLUSION

As detailed above, because this Court lacks subject matter jurisdiction and, in any event,
the SDNY Action consists of claims that are personal to Paladini, this Court must disregard the
Harris Defendants’ improper attempt at forum shopping and deny the Harris Defendants’ motion
for lack of subject matter jurisdiction ln the event the Cour't determines that it has subject matter
jurisdiction, it should still dismiss or otherwise deny the Motion because Paladini’s claims in the
SDNY Action are not derivativel Paladini’s claims are personal to him, were expressly carved
out of the Settlement Order (and by implication, the Confirmation Order), and are therefore not
enjoined by this Court’s prior Orders. The District Cour't is the appropriate forum for the dispute
between Paladini and the Harris Defendants, non-debtor third parties. Accordingly, this Court
should respectfully defer to the District Court for resolution of the claims between the instant

non-debtor parties and deny the Motion.

 

 

Dated: OCtober 10, 2012 ELLIOT§>GREENLEAF j
Wilmington, Delaware
nLLror:teREnNLnAr §
Eric M. Sutty

1105 Market Street §uite 1700
Wilmington, Delaware 19801
Tel: (302) 384-9400

Fax: (302) 384-9399

-and-

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ASCHETTINO STRUHS LLP

§tephen A. Aschettino (§A4072)(admissiorr
pending)

Naonri D. lohnson (N11566)(admission
pending)

1500 Broadway, 21st Floor

New York, New Yorl< l0036

Tel: (212) 354-7600

Fax: (866) 260-5527

Atror;reys]&)r ll;farcelo Paladini

 

